Case 1:21-cv-06702-LAK Document 7 Filed 08/12/21 Page 1 of 2
       Case 1:21-cv-06702-LAK Document 7 Filed 08/12/21 Page 2 of 2
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Virginia L. Giuffre,
                                   Plaintiff(s),                              21-cv- 6702(LAK)
     v.

Prince Andrew,
Duke of York, in his personal capacity
also known as
Andrew Albert Christian Edward
                              Defendant(s).
-----------------------------x
                                           Consent Scheduling Order
                  Upon consent of the parties, it is hereby
                  ORDERED as follows:

1.        No additional parties may be joined after                 .
2.        No amendments to the pleadings will be permitted after ____________.

3.        The parties shall make required Rule 26(a)(2) disclosures with respect to:
          (a) expert witnesses on or before ____________;
          (b) rebuttal expert witnesses on or before ____________.
4.        All discovery, including any depositions of experts, shall be completed on or before                   .

5.        A joint pretrial order in the form prescribed in Judge Kaplan's individual rules shall be filed on or
          before               .
6.        No motion for summary judgment shall be served after the deadline fixed for submission of the
          pretrial order. The filing of a motion for summary judgment does not relieve the parties of the
          obligation to file the pretrial order on time.

7.        If any party claims a right to trial by jury, proposed voir dire questions and jury instructions shall
          be filed with the joint pretrial order.

8.        Each party or group of parties aligned in interest shall submit not less than ten (10) days prior to
          trial (a) a trial brief setting forth a summary of its contentions and dealing with any legal and
          evidentiary problems anticipated at trial, and (b) any motions in limine.
9.        This scheduling order may be altered or amended only on a showing of good cause not
          foreseeable at the date hereof. Counsel should not assume that extensions will be granted as a
          matter of routine.

Dated:                                                                    _____________________________
                                                                                 Lewis A. Kaplan
                                                                             United States District Judge
CONSENTED TO: [signatures of all counsel]
